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      ~AO 245B (CASD) (Rev. 8/11)    Judgment in a Criminal Case
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                 Sheet I                                                                                         1-- \
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                                                UNITED STATES DISTRICT COORT-ii :;', 2:                                                 '",S1t1
                                                    SOUTHERN DISTRICT OF CALIFORNIA

                      UNITED STATES OF AMERlCA                                         JUDGMENT IN A CRIMINAL CASE
                                          v.                                           (For Offenses Committed On or After November 1, 1987)

                           Shoshana Christie Elias -12                                 Case Number: l2-cr-03850-JAH-12
                                                                                       Mayra L Garcia
                                                                                       Defendant's AttOrney
      REGISTRATION NO. 35246298

      D
      TIlE DEFENDANT:
      181 pleaded guilty to count(s) .,.:T:.,:w.:..:o:.o:,:f:.,:t=he:..::ln=d::,.ic:.,:tm::....en::,.t::..._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       D    was found gUilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea ofnot guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
      Title & Section                          Nature of Offense                                                                            Numberls)
  21 USC 846, 841(a)(1)                 Conspiracy to Distribute Methamphetamine                                                             2




          The defendant is sentenced as provided in pages 2 through                3          of this judgment. The sentence is imposed pursuant
   to the Sentencing Reform Act of 1984.
   D The defendant has been found not gUilty on count(s)
                                                                  ---------------------------------------------
    D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.
    181 Assessment: $100.00.


    D Fine waived                                       D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
         IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
   or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
   defendant shall notifY the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                                 October 31, 2014




                                                                                       TED STATES DISTRICT JUDGE

                                                                                                                                           12-cr-03850-JAH-12



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AD 245B (CASD) (Rev. 8111) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                             Iudgment Page _ _2 _ of        _--"'3'--__
DEFENDANT: Shoshana Christie Elias -12                                                                 D
CASE NUMBER: 12-er-03850..JAH-12
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:
 Five years.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled sub~ta?ce. The defendant shall refrain ~om any unlawful use of a 7ontrolled
substance. The defendant shall submit to one drug test WIthm 15 days of placement on probatton and at least two penodlc drug te~ts
thereafter as determined by the court. Testing requirements will not exceed submission of more than_4_drug tests per month durmg
the term of supervision, unless otherwise ordered by court.
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessi ve use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation offIcer to make such notifications and to confirm
          the defendant's compliance with such notification requirement.


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                  Sheet 3 Special Conditions


       DEFENDANT: Shoshana Christie Elias -12
       CASE NUMBER: U ..cr-03850-JAH-12
                                                                                                   ..   Judgment-Page   --l.- of _....;;'.3_ _




                                             SPECIAL CONDITIONS OF SUPERVISION
o reasonable
  Submit person., residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a .
             manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submIt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse, or mental
    health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre approved by the probation officer.




o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
o Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within       days.
o   Complete           hours of community service in a prograrn approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. AlIow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant
    to this condition.

    Comply with the conditions of the Home Detention Program for a period of six months and remain at your residence except for activities or
    employment as approved by the court or probation officer. Wear an electronic monitoring device and follow procedures specified by the
    probation officer. Pay 50% of the cost of electronic monitoring services,




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